         Case 1-18-01055-ess       Doc 15    Filed 12/20/18     Entered 12/20/18 13:24:59




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:
                                                         Chapter 7
MICHAEL HEILBRON,                                        Case No. 1-18-42486 (ESS)

                                Debtor.                  DECLARATION


BENJAMIN PLAZA, JR.,
Chapter 7 Creditor

                                Plaintiff.

v.                                                       Adv. Proc. No.    1-18-01055 (ESS)

MICHAEL HEILBRON,

                                Defendant.


          ERIC E. ROTHSTEIN, an attorney duly admitted to practice law before the Courts of the

State of New York and the United States District Court for Eastern District of New York, hereby

declares pursuant to 28 U.S.C. § 1746:

          1.     This Declaration is submitted in support on plaintiff’s motion for summary judgment

and will serve as the vehicle for the presentation of the exhibits that support the accompanying

Statement of Material Facts and Memorandum of Law.

          2.     The following documents are submitted herewith as exhibits:

                 Exhibit A:     Felony complaint.
                 Exhibit B:     Transcript of guilty plea. And Certificate of Disposition from Queens
                                Criminal Court.
     Case 1-18-01055-ess      Doc 15      Filed 12/20/18   Entered 12/20/18 13:24:59




            Exhibit C:      Plaintiff’s medical records.
            Exhibit D:      Summons and Complaint filed in Supreme Court, Queens County.

            Exhibit E:      Decision awarding default judgment and setting case down for
                            inquest on damages.

            Exhibit F:      Decision following inquest of damages.

            Exhibit G:      Debtor’s motion to vacate default judgment.

            Exhibit H:      Decision denying debtor’s motion to vacate default judgment.

Dated: New York, New York
       December 20, 2018

                                   s/ Eric E. Rothstein
                                   Eric E. Rothstein
                                   Rothstein Law PLLC
                                   Attorneys for Benjamin Plaza, Jr., Creditor
                                   The Woolworth Building
                                   233 Broadway, Suite 900
                                   New York, New York 10279
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 20, 2018, a copy of the foregoing Declaration was
filed electronically and served by mail on anyone unable to accept electronic filing. Notice
of this filing will be sent by email to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

Dated: New York, New York
       December 20, 2018

                                     s/     Eric E. Rothstein_______
                                            Eric E. Rothstein
                                            Attorney for Benjamin Plaza, Jr., Creditor
                                            The Woolworth Building
                                            233 Broadway, Suite 900
                                            New York, New York 10279
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Case No.:               1-18-42486 (ESS)

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


In re: MICHAEL HEILBRON,


                                              Debtor,

_________________________________________________________________________________
BENJAMIN PLAZA, JR.,
Chapter 7 Creditor,

                                              Plaintiff,

      -     against –

MICHAEL HEILBRON,


                                              Defendant.


                                           DECLARATION


                                    ROTHSTEIN LAW PLLC
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